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                                MINUTE ORDER

    CASE NUMBER:           CV 16-00659 JMS-WRP
    CASE NAME:             Gerard K. Puana, et al. v. Katherine P. Kealoha, et al.


        JUDGE:      Wes Reber Porter            DATE:       October 19, 2020


  COURT ACTION:     ORDER AS TO LETTER FROM DEFENDANT
  KATHERINE P. KEALOHA RECEIVED OCTOBER 16, 2020

  On October 16, 2020, the Court received a letter from Defendant Katherine
  Kealoha noting that her service copy of the First Amended Complaint was missing
  two pages, asking for an extension of time to respond to the First Amended
  Complaint, stating that she was unable to locate notice of withdrawal of her prior
  counsel on the docket, asking for access to certain hard drives, and asking to
  participate in case proceedings via telephone. See ECF No. 90.

  First, the Court DIRECTS the Clerk’s Office to mail a copy of the First Amended
  Complaint, ECF No. 80, to Defendant Katherine Kealoha.

  Second, the Court DIRECTS the Clerk’s Office to mail a copy of the Order
  Continuing the Stay of this Litigation and Granting Plaintiff Leave to File an
  Amended Complaint, ECF No. 79, to Defendant Katherine Kealoha. As stated in
  that Order, the time for Defendants to respond to the First Amended Complaint is
  stayed until 21 days after the Court lifts the stay in this action. Accordingly,
  Defendant Katherine Kealoha’s request for an extension of time to respond to the
  Complaint is MOOT.

  Third, the Court DIRECTS the Clerk’s Office to mail a copy of the Notice
  regarding Motion to Withdraw, ECF No. 57, and a copy of the Court’s Order
  Granting Counsel’s Unopposed Motion to Withdraw as Counsel, ECF No. 59, to
  Defendant Katherine Kealoha.

  Fourth, the Court DENIES WITHOUT PREJUDICE Defendant Katherine
  Kealoha’s request for access to certain hard drives. As reflected in this docket, this
  action is stayed pending the resolution of the related criminal matters. After the
  stay has been lifted in this action, Defendant Katherine Kealoha may renew her
  request through formal motion.
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  Fifth, the Court GRANTS Defendant Katherine Kealoha’s request to appear by
  telephone for proceedings before Magistrate Judge Wes Reber Porter in this
  matter. For proceedings before the district judge or for any other proceedings in
  this litigation, Defendant Katherine Kealoha must make the appropriate request to
  appear by telephone for those proceedings as they are scheduled.

  Sixth, the Court notes that Defendant Katherine Kealoha’s mailing address on the
  docket is the same address that is reflected on her letter and that the docket reflects
  that all filings have been served on Defendant Katherine Kealoha at her address of
  record. To the extent Defendant Katherine Kealoha is unable to locate her service
  copies of other filings, she shall be responsible for obtaining copies of all other
  prior case filings through PACER.

  Finally, the Court notes that informal letters to the Court are not the appropriate
  means for requesting relief. All future filings by any party in this case must be
  made through formal motion.

  IT IS SO ORDERED.

                      Submitted by: Juliet Parker, Courtroom Manger.
